 Case: 1:16-cv-06221 Document #: 281-1 Filed: 07/12/19 Page 1 of 3 PageID #:6297




                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MICHAEL MEADOWS, Individually, and                 )
on Behalf of All Others Similarly Situated         )
                                                   ) Case No. 1:16-cv-6221
                      Plaintiff,                   )
                                                   ) Honorable Manish S. Shah
          v.                                       )
                                                   )
NCR CORPORATION                                    )
                                                   )
                      Defendant.                   )
                                                   )


      INDEX OF EXHIBITS TO DEFENDANT NCR CORPORATION’S
MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR DECERTIFICATION OF
                 THE FLSA COLLECTIVE ACTION


      EX.                                      DESCRIPTION
      1           Notice of Collection Action Lawsuit
      2           Declarations of Thomas Abburscato, Scott Dosie, James R. Kent, Raymond
                  Mousaad, and Peter Wolven
      3           2013 Customer Engineer Human Resources Book
                  (NCR MEADOWS0000310)
      4           2016 Customer Engineer Human Resources Book
                  (NCR MEADOWS0000367)
      5           Copy of the “Stipulation of Settlement and Release” filed in De Leon and
                  Fajardo v. NCR Corporation, Case No. CIVDS1403274
      6           Deposition Transcript Excerpts of Arturo Barraza
      7           Deposition Transcript Excerpts of Roy Bratt
      8           Deposition Transcript Excerpts of Jesse Brown
      9           Deposition Transcript Excerpts of Alexander Bucher
      10          Deposition Transcript Excerpts of Jude Charles
      11          Deposition Transcript Excerpts of Jeff Clark
      12          Deposition Transcript Excerpts of Alan Cosby



                                              1
Case: 1:16-cv-06221 Document #: 281-1 Filed: 07/12/19 Page 2 of 3 PageID #:6298




    EX.                                    DESCRIPTION
    13        Deposition Transcript Excerpts of Eugene Duncan
    14        Deposition Transcript Excerpts of David Fisher
    15        Deposition Transcript Excerpts of Tom Fitzgerald
    16        Deposition Transcript Excerpts of Christopher Flood
    17        Deposition Transcript Excerpts of Brian Galle
    18        Deposition Transcript Excerpts of Darlene Gathers
    19        Deposition Transcript Excerpts of Brett Hartley
    20        Deposition Transcript Excerpts of Richie Hatcher
    21        Deposition Transcript Excerpts of Donald Hineman
    22        Deposition Transcript Excerpts of Zeid Isho
    23        Deposition Transcript Excerpts of Frane Ivic
    24        Deposition Transcript Excerpts of Charles Jackson
    25        Deposition Transcript Excerpts of Donald Johnson
    26        Deposition Transcript Excerpts of Billy Karruli
    27        Deposition Transcript Excerpts of Kelly Korinek
    28        Deposition Transcript Excerpts of Joseph Lane
    29        Deposition Transcript Excerpts of Emilio Li
    30        Deposition Transcript Excerpts of Michael Meadows
    31        Deposition Transcript Excerpts of Peter Miroewski
    32        Deposition Transcript Excerpts of Ryan Od'neal
    33        Deposition Transcript Excerpts of Paul Oestreicher
    34        Deposition Transcript Excerpts of Ray Pfiester
    35        Deposition Transcript Excerpts of Mark Potter
    36        Deposition Transcript Excerpts of Matt Presley
    37        Deposition Transcript Excerpts of Aaron Redding
    38        Deposition Transcript Excerpts of Kyle Rice
    39        Deposition Transcript Excerpts of Michael Rodriguez
    40        Deposition Transcript Excerpts of Daniel Santos
    41        Deposition Transcript Excerpts of Gerardo Santos
    42        Deposition Transcript Excerpts of Alfredo Sauco


                                          2
Case: 1:16-cv-06221 Document #: 281-1 Filed: 07/12/19 Page 3 of 3 PageID #:6299




    EX.                                    DESCRIPTION
    43        Deposition Transcript Excerpts of Bobby Scales
    44        Deposition Transcript Excerpts of Bryan Seaton
    45        Deposition Transcript Excerpts of Jay Vona
    46        Deposition Transcript Excerpts of Michael Walker
    47        Deposition Transcript Excerpts of Michael Warren
    48        Deposition Transcript Excerpts of Bryn Wayne
    49        Deposition Transcript Excerpts of Patrick Williams
    50        Deposition Transcript Excerpts of David Wilson
    51        Deposition Transcript Excerpts of James Yowonske
    52        Declaration of Christina Tellado
    53        Copies of Unpublished Authority




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